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 I   Anton Ewing (NOT AN ATTORNEY)
     3077 B Clairemont Drive #372
 2   San Diego, CA 9211 7                                          Oct 08 2020
 3

                                                                      s/ jillr
 4   Plaintiff In Pro Per
 5

 6

 7               THE UNITED STATES FEDERAL DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
 9

10   Anton Ewing,                                 Civil Case No. '20CV1986 BAS BGS
11                Plaintiff,                      COMPLAINT
                                                    1. NEGLIGENT VIOLATIONS OF
12         vs.                                         THE TELEPHONE
13                                                     CONSUMER PROTECTION
     Lendvisor, LLC, a New York limited                ACT [47 U.S.C §227 (b)]
14
                                                    2. WILLFUL VIOLATIONS OF
15
     liability company;                                THE TELEPHONE
     Michael Huczek, an individual,                    CONSUMER PROTECTION
16                                                     ACT [47 U.S.C. §227(b)]
17
                  Defendants.                       3. NEGLIGENT VIOLATIONS OF
                                                       THE TELEPHONE
18                                                     CONSUMER PROTECTION
                                                       ACT [47 U.S.C. §227 (c)]
19
                                                    4. WILLFUL VIOLATIONS OF
20                                                     THE TELEPHONE
                                                       CONSUMER PROTECTION
21
                                                       ACT [47 U.S.C. §227(c)]
22                                                  5. VIOLATION OF CALIFORNIA
                                                       INVASION OF PRIVANCY
23                                                     ACT [PC §632.7 §637.2]
24
                                                  JURY TRIAL REQUESTED
25                                            )

                                PLAINTIFF'S INITIAL COMPLAINT- 1
                                                                                     20CV
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            Plaintiff Anton Ewing ("Plaintiff'), an individual, alleges the following upo
 2
     information and belief based upon personal knowledge:
 3

 4                              I. NATURE OF THE CASE
 5
      1.    On or about June 1, 2020, the Southern District of California Federal Distric
 6
     Court modified, amended and otherwise changed Civil Local Rule 83 .4 to read as
 7
     what is now Local Rule 2.1.
 8
     2.     In Local Rule 2.1 it states: "We-- judges, lawyers, court staff, parties-all
 9
     have a responsibility in ensuring that we preserve the legacy of this institution by
10
     conducting ourselves according to the Golden Rule-to treat others as we
11   ourselves would like to be treated."
12   3.     The federal judges of the Southern District stated in LR 2.1 that "[a]lthough
13   adversarial, the experience does not have to, and should not, be antagonistic or
14   hostile." Plaintiff hopes that defendant's attorney will not engage in behavior that
15   brings discredit to the Bar and the courts.

16   4.     Importantly, the federal judges of the Southern District went on to say, at L

17
     2.l(a)(l), that "[c]ivility is paramount and not to be confused with weakness.
     Civility in action and words is fundamental to the effective and efficient
18
     functioning of our system of justice and public confidence in that system."
19
      5.    Moreover, the federal judges of the Southern District went even further to
20
     say, in LR 2.1, that "[n]o one is above the law and, equally important, no one is
21
     entitled to act in such a way that erodes the public's trust in the administration of
22
     justice."
23
     6.     The federal judges of the Southern District stated, at LR 2.1, that "[t]his
24
     court is committed to ensuring that all who work within it and come before it treat
25
     each other with decency, dignity, and respect."

                                 PLAINTIFF'S INITIAL COMPLAINT- 2
                                                                                             20CV
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     7.          At LR 2.l(a)(3) the federal judges of the Southern District stated "[w]e
 2   expect lawyers to treat adverse witnesses, litigants and opposing counsel with

 3   courtesy, fairness and respect."

 4
     8.          Plaintiff is hopeful that "the court expects that all who practice in this court

 5
     will adhere to this Code of Conduct in all of their interactions within the courts of
     this judicial district, in order to nurture, rather than tarnish, the practice of law."
 6
     9.          Defendant Huczek called Ewing back again on 10/5/2020 after Ewing
 7
     informed Defendant that he was going to be sued and Huckzek 1 asked the
 8
     following question: "Did you like getting fucked up the ass while you were in jail.
 9
     You look like a weasel."
10
      10.        Plaintiff brings this action seeking damages and any other available legal or
11
     equitable remedies resulting from the illegal actions ofLendvisor, LLC, a New
12
     York limited liability company ("LENDVISOR") and its owner, officer, sole
13
     shareholder and director, Michael Huczek ("Huczek"), in negligently, knowingly,
14
     and/or willfully contacting Plaintiff on Plaintiff's cellular telephone and landline
15   home phones in violation of the Telephone Consumer Protection Act, 47. U.S.C. §
16   227 et seq. ("TCPA") and related regulations, specifically the National Do-Not-
17   Call provisions, thereby invading Plaintiff's privacy. Further, Defendants each
18   violated California's Invasion of Privacy Act (CIPA) by illegally recording the
19   telemarketing calls they made to Plaintiff without disclosing that such calls were
20   being recorded by Defendants, all in violation of PC §637.2 and PC §632.7. This

21
     case involves more than one call in violation of the TCP A and CIP A.

22
      11.        Lendvisor, LLC is also doing business as Rothman Financial Group and use
     rothfg.com.
23

24

25
      1
          Plaintiff recommends additional court security present when dealing with defendant.

                                             PLAINTIFF'S INITIAL COMPLAINT- 3
                                                                                                    20CV
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 1    12.    Lendvisor, LLC is the agent of Michael Huczek because Huczek has

 2   directed and controlled said entity, including the criminal acts violating 47 USC
 3   §501.

 4
      13.    Throughout the below listed paragraphs in this lawsuit, where the word

 5
     "Defendants" is used and employed, it shall be and is intended to include
     Defendant Michael Huczek as an individual as well as in his capacity as the sole
 6
     owner and officer ofLendvisor, LLC and Defendant Lendvisor, LLC, as the alter
 7
     ego of Huczek. Lendvisor, LLC is both the alter ego of Michael Huczek and the
 8
     agent of Huczek.
 9
      14.    Defendants are spam texters. Plaintiff expressly informed Defendants to
10
     stop texting him. Then Defendant texted again, and again. Each time Plaintiff told
11
     Defendants to stop.
12
      15.    Plaintiff received the following calls to Plaintiff's cellular telephone of 619-
13
     719-9640 from Defendants or from Defendant's hired and controlled agents at the
14
     specific direction of Defendant LENDVISOR:
15              a. Called form 619-824-1869 at 7:09 AM on 10/5/2020 to 619-719-9640
16              b. Called from 347-607-9513 at 11:45 AM on 10/5/2020 to 619-719-
17                 9640
18              c. Called from 347-605-8126 at 11:04 AM on 10/5/2020 to 619-719-
19                 9640

20              d. Called from 516-336-3090 at 11:04 AM on 10/5/2020 to 619-719-

21
                   9640

22
                e. Text message from 347-605-8136 at 7:14 AM on 10/5/2020 to 619-
                   719-9640.
23
                f. Text message from 347-605-8136 at 7:18 AM on 10/5/2020 to 619-
24
                   719-9640.
25


                                  PLAINTIFF'S INITIAL COMPLAINT-4
                                                                                                20CV
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              On each of the above listed calls, the telemarketing agents of Defendants
 2    stated that they were calling from LENDVISOR and attempting to sell Plaintiff a

 3    loan.

 4
      16.     Defendants called prior to 8:00 AM which is a violation of the law. The

 5
      initial call came in a 7:09AM on 10/5/2020 from 619-824-1869.
      17.     Defendants used the following numbers to call Plaintiff:
 6
                 a. 619-824-1869
 7
                 b. 347-607-9513
 8
                 C.   516-336-3090
 9
                 d. 347-605-8136
10
      18.     Defendant Huczek ordered and overtly directed his third party telemarketing
11
     agents that he hired and paid to robocall Plaintiff. Huczek knew he was using or
12
      directing the use of an ATDS and directed his telemarketing agents to use and
13
     employ an automatic telephone dialer (specifically a Vicidial dialer) to call
14
     Plaintiff repeatedly.
15    19.     Defendants have purposefully directed their activities into California by
16   calling Plaintiffs 619 area code and by employing a web page that is able to be
11   viewed California.
1s                               II. JURISDICTION & VENUE
19   20.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
20   resident of California, seeks relief from the United States Federal District Court,
21    Southern District of California. For each TCP A subsection (b and c), Plaintiff also
22    seeks up to $1,500.00 in damages for each call in violation of the TCP A, which,
23   when all calls are added up, exceeds the threshold required for federal court

24   jurisdiction.

25
     21.      The Court has ancillary jurisdiction, in its discretion, over the attendant state


                                   PLAINTIFF'S INITIAL COMPLAINT- 5
                                                                                                  20CV
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 1   law claims, including but not limited to California's Penal Code §637.2, et seq. and
 2   Civil Code § 1770(a)(22)(A).

 3   22.   This Court also has federal-question subject matter jurisdiction over the

 4
     Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a

 5
     federal statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012).
     23.   This Court has personal jurisdiction over Defendants Lendvisor, LLC and
 6
     Michael Buczek because a substantial part of the wrongful acts alleged in this
 7
     Complaint were committed in California and because LENDVISOR has significant
 8
     contacts and assets in California. For example, Lendvisor, LLC and Buczek made
 9
     illegal telemarketing robocalls to Mr. Ewing, with area code 619, while he was in
10
     California. Lendvisor, LLC and Buczek have also subjected themselves to
11
     personal jurisdiction in California because they are running and abetting said
12
     criminal operation.   See 47 USC §501. Data Disc, Inc. v. Systems Technology
13
     Associates, Inc., 557 F.2d 1280, 1285 (9th Cir. 1977). Ballardv. Savage, 65 F.3d
14
     1495, 1498 (9th Cir. 1995).
15   24.   Venue is proper in the United States District Court for the Southern District
16   of California pursuant to 28 U.S.C. § 1391(b) and because Defendants do business
11   within the State of California and Plaintiff resides within the County of San Diego.
1s 25.     Defendants have purposefully directed their activities into California and
19   have thus enjoyed the benefits and protections of California law.

20   26.   The Ninth Circuit employs a three-part test to determine whether the

21
     defendant's contacts with the forum state are sufficient to subject it to specific

22
     jurisdiction. Ballard v. Savage, 65 F.3d 1495, 1498 (9th Cir. 1995). Under the
     three-part inquiry, specific jurisdiction exists only if: (1) the out-of-state defendant
23
     purposefully availed itself of the privilege of conducting activities in the forum,
24
     thereby invoking the benefits and protections of the forum's laws; (2) the cause of
25
     action arose out of the defendant's forum-related activities and (3) the exercise of
                                 PLAINTIFF' S INITIAL COMPLAINT- 6
                                                                                                20CV
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 1   jurisdiction is reasonable. Myers v. Bennett Law Offices, 238 F.3d 1068, 1072 (9th
 2    Cir. 2001). The plaintiff bears the burden of satisfying the first two prongs of this

 3    specific jurisdiction test. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797,

 4
      802 (9th Cir. 2004 ). "If the plaintiff succeeds in satisfying both of the first two

 5
      prongs, the burden then shifts to the defendant to 'present a compelling case' that
      the exercise of jurisdiction would not be reasonable." Id.
 6
                                          III. PARTIES
 7

 8
      27.   Plaintiff, Anton Ewing. ("Plaintiff'), is an individual and resident in
      California.
 9
      28.   Defendant Lendvisor, LLC is a vociferous robo-dialing telemarketer, and is
10
      a "person" as defined by 47 U.S.C. § 153 (39).
11
      29.   The above named Defendant Lendvisor, LLC, and its subsidiaries and
12
      agents, as well as Huczek, are collectively referred to as "Defendants." The true
13
      names and capacities of the Defendants sued herein as DOE DEFENDANTS 1
14
      through 10, inclusive, are currently unknown to Plaintiff, who therefore sues such
15
      Defendants by fictitious names. Each of the Defendants designated herein as a
16
      DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek
17
      leave of Court to amend the Complaint to reflect the true names and capacities of
18    the DOE Defendants when such identities become known.
19    30.   Plaintiff is informed and believes that at all relevant times, each and every
20    Defendant was acting as an agent and/or employee of each of the other Defendants
21    and was acting within the course and scope of said agency and/or employment wit
22    the full knowledge and consent of each of the other Defendants. Plaintiff is
23    informed and believes that each of the acts and/or omissions complained of herein

24    was made known to, and ratified by, each of the other Defendants. Defendants

25
      controlled every aspect of its agent's operations including the scripts to be read on


                                  PLAINTIFF'S INITIAL COMPLArNT- 7
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     each call and the fact that Defendant required its agent to record each
 2   telemarketing call. Lendvisor, LLC is and was, at all times relevant to this action,

 3   a knowingly and intentionally authorized and controlled agent of Michael Huczek.

 4
                                        IV. FACTUAL ALLEGATIONS
     31.        On or about October 5, 2020, Defendants contacted Plaintiff on Plaintiffs
 5
     telephone number ending in -9640, in an attempt to solicit Plaintiff to purchase
 6
     Defendant's loan services. There was also a very distinct bubble popping sound at
 7
     the beginning of the call that indicates an ATDS was used to initiate and dial
 8
     Plaintiffs telephone number that is itself registered on www.donotcall.gov since
 9
     2012.
10
     32.        Defendant Lendvisor, LLC used a "Vicidial" ATDS system to robodial
11
     Plaintiff on Plaintiffs cell phone to sell Plaintiff loan services. LENDVISOR
12
     purchased, setup and activated the Vicidial system.
13
     33.        Defendants are being sued for violating 47 USC §227(b)(l)(A), 47 USC
14
     §227(c)(5), California Civil Code2 §1770(a)(22)(A) and PC §§632.7 and 637.2.
15   34.        Lendvisor is also known as Rothman Financial.
16   35.        Michael Huczek is an officer of Defendant Lendvisor, LLC
17   36.        Michael Huczek is an owner of Defendant Lendvisor, LLC
18   37.        Lendvisor, LLC does not have a California license to engage in the sale of
19   loans.

20   38.        Lendvisor, LLC is illegally doing business in California.

21

22
     2
         Disseminating an unsolicited prerecorded message by telephone without an unrecorded, natural voice first
23
     informing the person answering the telephone of the name of the caller or the organization being represented, and
24
     either the address or the telephone number of the caller, and without obtaining the consent of that person to listen to
25
     the prerecorded message.

                                            PLAINTIFF'S INITIAL COMPLAINT- 8
                                                                                                                               20CV
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     39.    Lendvisor, LLC has failed to register as a telemarketer in California with the
 2   California Department of Justice.

 3   40.    Defendant has failed to obtain a telemarketers bond in California as required

 4
     by the California Department of Justice.

 5
     41.    Lendvisor, LLC exerts agency type control over their third party
     telemarketing lead source.
 6
     42.    Lendvisor, LLC requires its lead source to ask certain questions of the
 7
     prospective clients before the lead source can transfer the call to Lendvisor, LLC
 8
     employees.
 9
     43.    Lendvisor, LLC began harassing Plaintiff on or about October 5, 2020 at
10
     which time Plaintiff expressly told Defendants to stop calling and to send a written
11
     copy of its Do Not Call policy. Then Defendants called again and again over two
12
     more times. None of the Defendants has sent a written copy of their do not call
13
     policy. All calls complained of in this lawsuit are within the four year statute of
14
     limitations.
15   44.    Plaintiff did not consent to, nor give permission for, the subsequent calls
16   made by Defendants to Plaintiff.
17   45 .   Defendants used an "automatic telephone dialing system" as defined by 47
18   U.S.C. § 227(a)(l) to place its call to Plaintiff seeking to solicit its lending
19   services.

20   46.    Defendants both contacted or attempted to contact Plaintiff from telephone

21
     numbers confirmed to be Defendant Michael Huczek's numbers.

22
     47.    Defendant's calls constituted calls that were not for emergency purposes as
     defined by 47 U.S.C. § 227(b)(l)(A).
23
     48.    During all relevant times, Defendants both did not possess Plaintiffs "prior
24
     express consent" to receive calls using an automatic telephone dialing system or an
25
     automatic telephone dialing system or an artificial or prerecorded voice on its
                                  PLAINTIFF ' S fN[TIAL COMPLAINT- 9
                                                                                             20CV
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 1    cellular telephone pursuant to 47 U.S.C.§227(b)(l)(A). At no time did Plaintiff
 2    provide, give or grant express written permission to be called nor to be robo-dialed

 3    by Defendants or its agents.

 4
      49.    Further, Plaintiffs cellular telephone number ending in -9640 was added to

 5
      the National Do-Not-Call Registry on or about February 16, 2012.
      50.    Defendants placed multiple calls soliciting its business to Plaintiff on his
 6
      telephone ending in -9640.
 7
      51.    Such calls constitute solicitation calls pursuant to 47 C.F.R. § 64.1200(c)(2)
 8
      as they were attempts to promote or sell Defendant's services.
 9
      52.    Plaintiff received numerous solicitation calls from Defendants within a 12-
10
      month period.
11
      53.    Defendants continued to call Plaintiff on his telephone number -9640 in an
12
      attempt to solicit its services and in violation of the National Do-Not-Call
13
      provisions of the TCPA.
14
      54.    Plaintiff was harmed by the acts of all defendants in at least the following
15    ways: Defendants illegally contacted Plaintiff via his telephone for solicitation
16    purposes, thereby invading the privacy of Plaintiff whose telephone number was
17    on the National Do-Not-Call Registry. Plaintiff was concretely damaged thereby.
1s    55.    Plaintiff is suing as a person that received numerous solicitation calls from
19    Defendants within a 12-month period, who had not granted Defendants prior
20    express consent and did not have an established business relationship with

21
      Defendants.

22
      56.    Defendants illegally recorded each telemarketing call that it made to
      Plaintiff in violation of California Penal Codes §632. 7 and §63 7 .2. Defendants
23
      owe Plaintiff $5,000 for each and every illegally recorded call.
24
      5 7.   The TCPA provides a private cause of action to persons who receive calls in
25
      violation of§ 227(b). 47 U.S.C. § 227(b)(3).
                                 PLAINTIFF'S INITIAL COMPLAINT- 10
                                                                                              20CV
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 1    58.     The TCPA makes it unlawful to make telemarketing solicitations to
 2    telephone numbers on the National Do Not Cali Registry. 47 U.S.C. § 227(c); 47

 3    C.F.R. § 64.1200(c)(2).

 4
      59.     The TCP A provides a private cause of action to persons who receive calls in

 5
      violation of§ 227( c). 4 7 U.S.C. § 227( c)(5).
      60.      47 USC §501 provides that it shall be unlawful to violate 47 USC §227(b).
 6
      61.      The term ATDS 3 as used and mentioned herein is as defined by the TCP A
 7
      and by the 9th Circuit Court of Appeals in the recent Marks vs. Crunch San Diego,
 8
      LLC case. D.C. No 14-cv-00348 BAS BLM.
 9
                                         V. STANDING
IO
      62.      The court must evaluate lack of statutory standing under the Rule 12(b)(6)
11
      standard. Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011). However,
12
      because Plaintiff is proceeding pro se, his complaint "must be held to less stringent
13
      standards than formal pleadings drafted by lawyers" and must be "liberally
14
      construed." Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam) (reaffirming
15    standard for prose complaints post-Twombly). The Ninth Circuit has concluded
16    that the court's treatment of prose filings after Twombly and Iqbal remain the same
17    and prose pleadings must continue to be liberally construed. Hebbe v. Pliler, 627
18    F.3d 338,342 (9th Cir. 2010); see also McGowan v. Hulick, 612 F.3d 636, 640-42
19    (7th Cir. 2010); Bustos v. Martini Club Inc., 599 F.3d 458, 461-62 (5th Cir. 2010);
20    Harris v. Mills, 572 F.3d 66, 71-72 (2d Cir. 2009) (noting that even following

21
      Twombly and Iqbal, "we remain obligated to construe a pro se complaint

22

23
      3
          "we conclude that the statutory definition of ATDS includes a device that stores
24
      telephone numbers to be called, whether or not those numbers have been generated
25
      by a random or sequential number generator."
                                  PLAINTIFF' S INITIAL COMPLAINT- 11
                                                                                              20CV
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      liberally").
 2    63.    Standing is proper under Article III of the Constitution of the United States

 3    of America because Plaintiffs claims state:

 4
             A valid injury in fact;

 5
             which is traceable to the conduct of Defendants;
             and is likely to be redressed by a favorable judicial decision. See, Spokeo,
 6
      Inc. v. Robins, 578 U.S. __(2016) at 6, and Lujan v. Defenders of Wildlife, 504
 7
      U.S. 555 at 560. In order to meet the standard laid out in Spokeo and Lujan,
 8
      Plaintiff must clearly allege facts demonstrating all three prongs above.
 9
             The "Injury in Fact" Prong
10
             64.     Plaintiffs injury in fact, must be both "concrete" and "particularized"
11
      in order to satisfy the requirements of Article III of the Constitution, as laid out in
12
      Spokeo (Id.). For an injury to be "concrete," it must be a de facto injury, meaning
13
      that it actually exists. In the present case, Plaintiff was called on his phone at least
14
      23 times by all Defendants. In fact, Plaintiff expressly informed all Defendants to
15    cease and desist from all future telemarketing on the very first call. Such calls are
16    a nuisance, an invasion of privacy, and an expense to Plaintiff in multiple ways.
17    Soppet v. Enhanced Recovery Co. , LLC, 679 F.3d 637,638 (7th Cir. 2012). Each
18    Defendant's invasion of Plaintiffs right to privacy is further exacerbated by the
19    fact that Plaintiffs phone number, at all times relevant to this litigation, was on the

20    National Do-Not-Call Registry ( hereinafter, "DNC Registry").

21
             The "Traceable to the Conduct of Defendant" Prong

22
      65.    The second prong required to establish standing at the pleadings phase is
      that Plaintiff must allege facts to show that their injury is traceable to the conduct
23
      of Defendants. In the instant case, this prong is met by the fact that the calls to
24
      Plaintiffs cellular phone were placed either by Defendants directly, or by
25
      Defendant's agent at the express direction and control of all defendants. See
                                  PLAINTIFF'S INITIAL COMPLAINT- 12
                                                                                                 20CV
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 1    Jones v. Royal Admin. Servs., 866 F.3d 1100 (9th Cir. 2017) ten factor test from
 2    the 9th Circuit and Civil code §2307.

 3          The "Injury is Likely to be Redressed by a Favorable Judicial Opinion"

 4
      Prong

 5
      66.   The third prong to establish standing at the pleadings phase requires Plaintif
      to allege facts to show that the injury is likely to be redressed by a favorable
 6
      judicial opinion. In the present case, Plaintiffs Prayers for Relief includes a
 7
      request for damages for each call made by all defendants, as authorized by statute
 8
      in 47 U.S.C. § 227. The statutory damages were set by Congress and specifically
 9
      redress the financial damages suffered by Plaintiff. Furthermore, Plaintiffs
10
      Prayers for Relief requests injunctive relief to restrain Defendants from the alleged
11
      abusive practices in the future. The award of monetary damages and the order for
12
      injunctive relief redress the injuries of the past and prevent further injury in the
13
      future. Because all standing requirements of Article III of the U.S. Constitution
14
      have been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S._ (2016), Plaintiff
15    has standing to sue all defendants on the stated claims.
16                               FIRST CAUSE OF ACTION
17
              Negligent Violations of the Telephone Consumer Protection Act
18
                                        47 U.S.C. §227(b).
19
      67.   Plaintiff repeats and incorporates by reference into this cause of action the
20
      allegations set forth above at Paragraphs 1-66.
21
      68.   The foregoing acts and omissions of all defendants constitute numerous and
22
      multiple negligent violations of the TCPA, including but not limited to each and
23
      every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular 47
24
      U.S.C. § 227 (b)(l)(A).
25
      69.   As a result of both Defendant's negligent violations of 47 U.S.C. § 227(b),

                                 PLAINTIFF' S INITIAL COMPLAINT- 13
                                                                                              20CV
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 1    Plaintiff is entitled to an award of $500.00 in statutory damages, for each and every
 2    violation, pursuant to 47 U.S.C. § 227 (b)(3)(B).

 3    70.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc

 4
      in the future.

 5
                                SECOND CAUSE OF ACTION
 6

 7    Knowing and/or Willful Violations of the Telephone Consumer Protection Act

 8                                      47 U.S.C. §227(b)

 9    71.    Plaintiff repeats and incorporates by reference into this cause of action the
10    allegations set forth above at Paragraphs 1-66.
11    72.    The foregoing acts and omissions of all defendants, jointly and severally,
12    constitute numerous and multiple knowing and/or willful violations of the TCPA,
13    including but not limited to each and every one of the above cited provisions of 47

14    U.S.C. § 227(b), and in particular 47 U.S.C. § 227 (b)(l)(A).

15    73.    As a result of all Defendant's knowing and/or willful violations of 47 U.S.C.

16
      §227(b), Plaintiff is entitled to an award of$1,500.00 in statutory damages, for
      each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §
17
      227(b) )(3)(C).
18
      74.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc
19
      in the future.
20
                                 THIRD CAUSE OF ACTION
21
              Negligent Violations of the Telephone Consumer Protection Act
22

23
      75.    Plaintiff repeats and incorporates by reference into this cause of action the
      allegations set forth above at Paragraphs 1-66.
24
      76.    The foregoing acts and omissions of all defendants, jointly and severally,
25


                                 PLAINTIFF' S INITIAL COMPLAINT- 14
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 1     constitute numerous and multiple negligent violations of the TCP A, including but
 2     not limited to each and every one of the above cited provisions of 47 U.S.C. §

 3     227(c), and in particular 47 U.S.C. § 227 (c)(5).

 4
       77.    As a result of all Defendant's negligent violations of 47 U.S.C. § 227(c),

 5
       Plaintiff is entitled an award of $500.00 in statutory damages, for each and every
       violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
 6
       78.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc
 7
       in the future.
 8
                                 FOURTH CAUSE OF ACTION
 9
       Knowing and/or Willful Violations of the Telephone Consumer Protection Act
10

11
                                       47 U.S.C. §227 et seq.

12     79.    Plaintiff repeats and incorporates by reference into this cause of action the
13     allegations set forth above at Paragraphs 1-66.

14     80.    The foregoing acts and omissions of all defendants constitute numerous and

15
       multiple knowing and/or willful violations of the TCPA, including but not limited

16
       to each and every one of the above cited provisions of 47 U.S.C. § 227(c), in
       particular 47 U.S.C. § 227 (c)(5).
17
       81.    As a result of all Defendant's knowing and/or willful violations of 47 U.S.C.
18
       § 227(c), Plaintiff is entitled to an award of$1,500.00 in statutory damages, for
19
       each and every violation, pursuant to 47 U.S.C. §227(c)(5).
20
       82.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc
21
       in the future.
22
                                  FIFTH CAUSE OF ACTION
23
                               California Invasion of Privacy Act
24
                                     PC §632.7 and PC §6372
25



                                  PLAINTIFF ' S INITIAL COMPLAINT- 15
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 1    83.      Plaintiff repeats and incorporates by reference into this cause of action the
 2    allegations set forth above at Paragraphs 1-66.

 3    84.      The foregoing acts and omission of all defendants constitute numerous and

 4
      multiple knowing and/or willful violations of CIPA, including but not limited to

 5
      each and every one of the above cited provisions of California Penal Code §632,
      §632.7 and §637.2
 6
      85.      As a result of all Defendant's knowing and willful violation of CIPA
 7
      sections PC §632 et seq, including PC §632.7, Defendants both owe Plaintiff
 8
      $5,000 per call.
 9
      86.      Plaintiff is also entitled to injunctive relief as expressly provided for within
10
      CIPA to prohibit all defendants from illegally recording calls to Plaintiff ever
11
      agam.
12
                                      PRAYER FOR RELIEF
13
             WHEREFORE, Plaintiff requests judgment against all defendants for the
14
                                               following:
15
                                    FIRST CAUSE OF ACTION
16
                Negligent Violations of the Telephone Consumer Protection Act
17

18                                        47 U.S.C. §227(b)

19          • As a result of all Defendant's negligent violations of 47 U.S.C.
20             §227(b)(l), Plaintiff is entitled to and request $500 in statutory damages, for

21             each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).

22          • Any and all other relief that the Court deems just and proper.

23                                SECOND CAUSE OF ACTION
24    Knowing and/or Willful Violations of the Telephone Consumer Protection Act
25
                                          47 U.S.C. §227(b)

                                    PLAINTIFF ' S IN[TIAL COMPLAINT- 16
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         • As a result of all Defendant's willful and/or knowing violations of 47 U.S.C.
 2          §227(b)(1 ), Plaintiff is entitled to and request treble damages, as provided by

 3          statute, up to$1,500, for each and every violation, pursuant to 4 7 U.S.C.

 4
            §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).

 5
         • Any and all other relief that the Court deems just and proper.

 6                              THIRD CAUSE OF ACTION

 7      Negligent Violations of the Telephone Consumer Protection Act 47 U.S.C.
 8                                          §227(c)
 9       • As a result of all Defendant's negligent violations of 47 U.S.C.
10          §227(c)(5), Plaintiff is entitled to and request $500 in statutory damages, for
11          each and every violation, pursuant to 47 U.S.C. 227(c)(5).
12       • Any and all other relief that the Court deems just and proper.
13                            FOURTH CAUSE OF ACTION
14
      Knowing and/or Willful Violations of the Telephone Consumer Protection Act
15
                                       47 U.S.C. §227(c)
16
         • As a result of all Defendant's willful and/or knowing violations of 47 U.S.C.
17
            §227(c)(5), Plaintiff is entitled to and request treble damages, as provided by
18
            statute, up to $1,500, for each and every violation, pursuant to 47 U.S.C.
19
            §227(c)(5).
20
         • Any and all other relief that the Court deems just and proper.
21
                                   FIFTH CAUSE OF ACTION
22                               California Invasion of Privacy Act
23                                    PC §632.7 and PC §6372
24       • As a result of all Defendant's wrongful acts, $5,000 per call for each such
25          call that was recorded without consent or disclose of such recording at the

                                PLAINTIFF'S INITIAL COMPLAINT- 17
                                                                                               20CV
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             beginning of the calls that Defendants made to Plaintiff.
 2       •   Any and all other relief that the Court deems just and proper.

 3    Respectfully submitted this 5th day of October, 2020.          '
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                                 PLArNTIFF'S rNITIAL COMPLArNT- 18
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                 Court Name: USDC California Southern
                 Division: 3
                 Receipt Number: CAS124731
                 Cashier ID: afu11er
                 Transaction Date: 10/08/2020
                 Payer Name: Anton A. Ewing Trustee
                 CIVIL FILING FEE
                  For: Anton A. Ewing Trustee
                  Case/Party : D-CAS-j-20-CV-001986-001
                  Amount:         $400.00
                 Cf-ECK
                  Check/Money Order Num: 1357
                  Amt Tendered: $400.00
                 Total Due:      1400 .00
                 Total Tendered: 400 .00
                 Change Amt:      0.00

                 There wi 11 be a fee of $53 .00
                 charged for any returned check .
